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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 8:24-cr-334-SDM-NHA

PING LI

PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Roger B.
Handberg, United States Attorney for the Middle District of Florida, and the
defendant, Ping Li, and the attorney for the defendant, Daniel Fernandez, Esq.,
mutually agree as follows:

A.  Particularized Terms

1. Counts Pleading To

The defendant shall enter a plea of guilty to Count One of the
Indictment. Count One charges the defendant with Conspiracy to Act as an Agent
of a Foreign Government without Prior Notification to the Attorney General.

Z. Maximum Penalties

Count One carries a maximum sentence of 5 years’ imprisonment, a
fine not to exceed $250,000, a term of supervised release of not more than 3 years,
and a special assessment of $100. With respect to certain offenses, the Court shall
order the defendant to make restitution to any victim of the offenses, and with
respect to other offenses, the Court may order the defendant to make restitution to

any victim of the offenses, or to the community, as set forth below.
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A. Elements of the Offenses

The defendant acknowledges understanding the nature and elements of
the offenses with which defendant has been charged and to which defendant is
pleading guilty. The elements of Count One are:

First: Two or more people agreed to try to accomplish a

common and unlawful plan to act as an agent of a foreign

government without notification to the Attorney General;

Second: The defendant knew about the plan’s unlawful purpose
and willfully joined in it;

Third: During the conspiracy, one of the conspirators knowingly
engaged in at least one overt act as described in the
indictment; and

Fourth: The overt act was committed at or about the time alleged
and with the purpose of carrying out or accomplishing
some object of the conspiracy.

The elements of acting as an agent of a foreign government without

notification to the Attorney General are:

First: The defendant acted as an agent of a foreign government
or official;

Second: The defendant failed to notify the Attorney General that
he would be acting as an agent of a foreign government or
official prior to so acting;

Third: The defendant acted knowingly; and

Fourth: The defendant acted, at least in part, as an agent fora
foreign government or official while in the United States.

An “agent of a foreign government” is an individual, other than a diplomatic

or consular officer or attaché, who agrees to operate within the United States subject

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to the direction or control of a foreign government or official.” 18 U.S.C. § 951(a),
(d). The relationship between the foreign government and its agent does not need to
mirror an employee’s control over the activities of an employee; a lesser degree of
direction is sufficient. Indeed, an independent contractor also qualifies as an agent
under Section 951.

4. Counts Dismissed

At the time of sentencing, Count Two will be dismissed pursuant to
Fed. R. Crim. P. 11(c)(1)(A).
J. No Further Charges
If the Court accepts this plea agreement, the United States Attorney’s
Office for the Middle District of Florida agrees not to charge defendant with
committing any other federal criminal offenses known to the United States
Attorney’s Office at the time of the execution of this agreement, related to the
conduct giving rise to this plea agreement.
6. Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse information
is received suggesting such a recommendation to be unwarranted, the United States
will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG § 3E1 l(a). The
defendant understands that this recommendation or request is not binding on the

Court, and if not accepted by the Court, the defendant will not be allowed to

withdraw from the plea.

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Further, at the time of sentencing, if the defendant’s offense level prior
to operation of subsection (a) is level 16 or greater, and if the defendant complies
with the provisions of USSG § 3E1.1(b) and all terms of this Plea Agreement,
including but not limited to, the timely submission of the financial affidavit
referenced in Paragraph B.5., the United States agrees to file a motion pursuant to
USSG § 3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely
with the United States Attorney for the Middle District of Florida, and the defendant
agrees that the defendant cannot and will not challenge that determination, whether
by appeal, collateral attack, or otherwise.

B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offenses, pursuant to 18 U.S.C. § 3663A, for all offenses described in 18
U.S.C. § 3663A(c)(1); and the Court may order the defendant to make restitution to
any victim of the offense(s), pursuant to 18 U.S.C. § 3663, including restitution as to
all counts charged, whether or not the defendant enters a plea of guilty to such
counts, and whether or not such counts are dismissed pursuant to this agreement.
The defendant further understands that compliance with any restitution payment

plan imposed by the Court in no way precludes the United States from

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simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.
§ 3003(b)(2)), including, but not limited to, garnishment and execution, pursuant to
the Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. The special assessment is
due on the date of sentencing.

The defendant understands that this agreement imposes no limitation as
to fine.

2. Supervised Release

The defendant understands that the offenses to which the defendant is
pleading provide for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.

a Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon conviction,
a defendant who is not a United States citizen may be removed from the United
States, denied citizenship, and denied admission to the United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the Court

and the United States Probation Office all information concerning the background,

character, and conduct of the defendant, to provide relevant factual information,

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including the totality of the defendant’s criminal activities, if any, not limited to the
counts to which defendant pleads, to respond to comments made by the defendant or
defendant’s counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate
regarding the disposition of this case, subject to any limitations set forth herein, if
any.
5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),
the defendant agrees to complete and submit to the United States Attorney’s Office
within 30 days of execution of this agreement an affidavit reflecting the defendant’s
financial condition. The defendant promises that his financial statement and
disclosures will be complete, accurate and truthful and will include all assets in
which he has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, dependent, nominee or other third party.
The defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by the
defendant, directly or through a nominee, and, by the execution of this Plea
Agreement, consents to the release of the defendant’s tax returns for the previous five
years. The defendant similarly agrees and authorizes the United States Attorney’s
Office to provide to, and obtain from, the United States Probation Office, the
financial affidavit, any of the defendant’s federal, state, and local tax returns, bank

records and any other financial information concerning the defendant, for the

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purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The defendant
expressly authorizes the United States Attorney’s Office to obtain current credit
reports in order to evaluate the defendant’s ability to satisfy any financial obligation
imposed by the Court.

6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor

bound by this agreement. The Court may accept or reject the agreement or defer a
decision until it has had an opportunity to consider the presentence report prepared
by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations and
present arguments to the Court, the sentence will be determined solely by the Court,
with the assistance of the United States Probation Office. Defendant further
understands and acknowledges that any discussions between defendant or
defendant’s attorney and the attorney or other agents for the government regarding
any recommendations by the government are not binding on the Court and that,
should any recommendations be rejected, defendant will not be permitted to
withdraw defendant’s plea pursuant to this plea agreement. The government
expressly reserves the right to support and defend any decision that the Court may
make with regard to the defendant’s sentence, whether or not such decision is

consistent with the government’s recommendations contained herein.

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7. Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant’s sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States
Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant’s applicable guidelines range as determined by the Court pursuant to the
United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government exercises
its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then
the defendant is released from his waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and cannot bind other
federal, state, or local prosecuting authorities, although this office will bring

defendant’s cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

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9. Filing of Agreement

This agreement shall be presented to the Court, in open court or in
camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant’s entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant’s attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or coercion
of any kind. The defendant further acknowledges defendant’s understanding of the
nature of the offense or offenses to which defendant is pleading guilty and the
elements thereof, including the penalties provided by law, and defendant’s complete
satisfaction with the representation and advice received from defendant’s
undersigned counsel (if any). The defendant also understands that defendant has the
right to plead not guilty or to persist in that plea if it has already been made, and that
defendant has the night to be tried by a jury with the assistance of counsel, the right
to confront and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant’s defense; but, by pleading guilty,
defendant waives or gives up those rights and there will be no trial. The defendant

further understands that if defendant pleads guilty, the Court may ask defendant

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questions about the offense or offenses to which defendant pleaded, and if defendant
answers those questions under oath, on the record, and in the presence of counsel (if
any), defendant’s answers may later be used against defendant in a prosecution for
perjury or false statement. The defendant also understands that defendant will be
adjudicated guilty of the offenses to which defendant has pleaded and, if any of such
offenses are felonies, may thereby be deprived of certain rights, such as the right to
vote, to hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth below are
true, and were this case to go to trial, the United States would be able to prove those
specific facts and others beyond a reasonable doubt.

FACTS

The People’s Republic of China (PRC) is a one-party state led by the Chinese
Communist Party (CCP). The PRC Intelligence Services (PRCIS) encompasses both
civilian and military components of PRC intelligence programs. Civilian intelligence
collection is handled by the Ministry of State Security (MSS).

PING LI is a United States citizen who immigrated to the United States from
the PRC. LI resides in the Middle District of Florida. At various times during his
relationship with the MSS, LI worked for a major U.S. telecommunications

company and an international information technology company.

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MSS OFFICER I was an officer of the PRC government who was employed
by the MSS’s Hubei provincial office, located in Wuhan, China.

From at least as early as 2012, LI worked at the direction of officers of the
MSS, including MSS OFFICER 1, to obtain information of interest to the PRC
government, including information concerning Chinese dissidents and pro-
democracy advocates, members of the Falun Gong religious movement, and U:S.-
based non-governmental organizations, and to report that information to the MSS.
LI also provided the MSS with information obtained from his employer. LI created
online accounts using false subscriber information, which he used to provide
information to MSS OFFICER 1. LI also routinely deleted emails with MSS
OFFICER 1 and instructed MSS OFFICER 1 to delete materials he had sent in
order to evade detection by law enforcement.

The below summary provides an example of some of MSS OFFICER 1’s
taskings to LI, but does not contain every act that LI conducted on behalf of the
MSS.

Initial Taskings in 2012

In July of 2012, LI traveled to the PRC and met with MSS OFFICER 1 and
other MSS Officers. LI then returned to the United States and created a new email
address containing false subscriber information.

On August 12, 2012, MSS OFFICER 1 sent an email to LI. He wrote the

following, which has been translated from Chinese to English:

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I’ve received the information. Could you help me check for the
latest information regarding the law suits that Falun Gong
practitioners plan to bring against state government officials?
Also about those pro-democracy activists, what movements have
they had. The person you know, what are his/her name and
background, and such? Thanks!

On August 18, LI replied to MSS OFFICER | and thanked him for the help
that he had provided when LI was in China. LI then told MSS OFFICER 1 the
name of an attorney in St. Petersburg, Florida, to whom he had spoken. LI provided
biographical information about the attorney and information about a blog that the
attorney had written for a publication associated with Falun Gong. LI further stated.
that the attorney had loaned his wife Falun Gong books. Falun Gong, also known as
Falun Dafa, is a religious movement that originated in the PRC in the 1990s. Falun
Gong is not one of the five religions formally recognized by the PRC government,
and it has been banned since 1999. Its adherents both in China and abroad are of
particular interest to the PRCIS because of Falun Gong’s advocacy of ideas deemed
subversive to the CCP.

On August 23, 2012, MSS OFFICER 1 sent emails thanking LI for the
information he provided, and asking:

Bro, if it is convenient to get in touch with the local Chinese
community, look out for movement of the pro-democracy
activists before the 18" National Congress. Also, pay attention to
whether anyone you know works at the CIA or FBI. I will tell
you directly if I need anything. Not going to hide anything from
you.

LI responded, agreeing to “keep an eye out for [MSS OFFICER 1].”

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On December 30, 2012, MSS OFFICER 1 sent the following email to LI:

I recently watched a classic Hong Kong movie called
“Overheard” starring Lau Ching-wan. In the movie, the team’s
technical security and prevention work in protecting state heads
or important overseas establishments is very meticulous and
professional. This in China is still at the starting point. Internet
censorship is pretty bad here in China. I have recently wanted to
know more about this. You are an expert in this area. How is this
done in the great country of United States? Is it as exciting inside
the US Embassies as how it is in scenes of “Overheard”
especially when state officials and important multinational
companies conduct foreign visits?

LI responded, promising to “look for this kind of information” and “send it to
you when I find it.” On January 4, 2013, LI sent a 4-page article to MSS OFFICER
1 entitled “Talking about Phone Monitoring in the United States.” LI then sent
another email containing his own opinion on the article, advising MSS OFFICER 1
as to which types of communications the U.S. government can monitor and which
types it cannot.

2013 to 2014

On April 27, 2013, MSS OFFICER 1 requested that LI provide information
concerning two Israeli authors who had written a book concerning Falun Gong. On
April 29, LI responded with publicly accessible information about the Israeli authors
and their social media.

On May 28, 2014, MSS OFFICER 1 requested from LI information about a
U.S. company, its president, and its president’s wife. LI responded that day with the

requested information. The following day, MSS OFFICER 1 followed up with
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additional questions about the company, specifically whether the company had U.S.
government support. LI responded with four additional emails containing detailed
information about the company.

On September 15, 2014, MSS OFFICER 1 asked LI for information about a
named individual from Hubei, China. MSS OFFICER 1 provided biographical
information for the individual, including his home address in California, his phone
number, and the make and model of his car. MSS OFFICER 1 stated that the
individual was involved in Falun Gong and had protested in front of a Chinese
consulate in California.

That same day, LI responded with information about an individual who he
believed to be the person who MSS OFFICER 1 had identified. On September 17, LI
requested additional internet searches for the named individual, and sent the
resulting information to MSS OFFICER 1.

2015

On December 5, 2014, LI traveled to Beijing, returning on December 28. On
February 18, 2015, LI sent an email to MSS OFFICER 1, thanking MSS OFFICER
1 and his colleague for taking him to a hot spring.

On March 4, 2015, MSS OFFICER 1 sent an email to LI requesting
information about branch offices that LI’s employer, a major U.S.
telecommunications company, had opened in China. MSS OFFICER 1 specifically
wanted to know about whether the company was engaging in any data collection in

China.
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On March 26, 2015, LI sent an email to MSS OFFICER | concerning his

employer’s activities in China. LI wrote:
I have asked around. [Company] indeed opened branches in
Beying, Guangzhou and Shanghai. Since the telecommunication
market is not opened to foreign companies, these branches
currently only offer services like providing business plans, data
analyses, hardware sales, and other services to their foreign
companies. Its clientele generally consists of Chinese

telecommunication enterprises (technical support service) and
foreign enterprises (communication services).

On April 1, 2015, MSS OFFICER 1 responded, thanking LI for the
information and requesting information about how the United States
government administers Nongovernmental Organizations (NGOs). On April
4, 2015, LI created a new email address with false subscriber information.
That same day, LI used the new account to send MSS OFFICER 1 three
emails containing articles. The first email contained a four-page attachment
entitled: “Source: Operations and Management of NGOs in the United
States.” The second email contained a three-page attachment entitled
“Management of NGOs in the United States.” The third email contained a
five-page attachment discussing the history, background, taxation, and tax-
exempt treatment of NGOs in the United States. One of the emails also
contained a detailed discussion of the Foreign Agent Registration Act and its
application to NGOs.

On August 24, 2015, MSS OFFICER 1 sent an email to LI requesting

information on a specific U.S. NGO that was engaging in environmental activism in

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Southeast Asia:
I have to trouble you to do some searches for me. There is a
NGO called [Redacted]. It is active mainly in Southeast Asia,
and headquartered in the United States. Please do some research
on this organization’s U.S. information, such as its structure

including its personnel and their responsibilities, economic data,
and matters associated with China. Thanks!!!

On August 29, 2015, LI created another new email account with false
subscriber information. That same day, LI used the new account to send an email to
MSS OFFICER 1 containing information about the named NGO. The information
included information from the NGO’s website, as well as a full list of its board
members, leadership council, directors, and employees, as well as photographs of
personnel in Asia and elsewhere, and one of its tax returns.

On August 30, MSS OFFICER 1 replied, stating that he was excited to see
LI’s response email. MSS OFFICER 1 suggested, “let’s find a communication
platform that is easier for us to get hold of each other.”

LI responded that same day, asking for MSS OFFICER 1 help in registering
an account on “Sina.” Sina is a Chinese email provider. LI wrote:

I am thinking about registering an account on Sina, so that we
can communicate more easily in the future. The Chinese web site

requires a cell phone number for verification; therefore, I could
not register one. See if you can get one for me.

On September 24, MSS OFFICER 1 emailed LI. MSS OFFICER 1 said, “I
will send the email address to you once I finish registering it. We will use that email

to stay in touch in the future.” On September 25, MSS OFFICER 1 provided the

username and password for a shared Chinese email account.

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On September 29, LI wrote:

I have put two documents in the cloud drive linked to the Sina
mailbox. Try and see if you can see them. If you can, we can use
this method to transmit documents from now on. You can delete
the original once you have downloaded them.

On October 18, MSS OFFICER 1 responded:

Brother LI, I logged on today and saw the email you sent. Have
received the two documents in the cloud drive of the Sina
mailbox! Deleted the relevant documents.

2017
LI traveled to China on January 20, 2017 and returned on February 5, 2017.
After LI returned, he and MSS OFFICER | exchanged numerous emails, some of
which appeared to relate to requests for information MSS OFFICER 1 had made in
person in China.
On March 31, 2017, MSS OFFICER 1 emailed LI, stating:
Brother LI, how has work been, still very busy? Brother I am

waiting to see your training instruction plan. Let me also study it,
so we both can improve.

On April 7, LI responded that MSS OFFICER 1 would have to “wait awhile
for the training instruction plan.” On April 10, LI wrote to MSS OFFICER 1:
“Brother [Redacted], I put something in the Sina mailbox. Delete after reading.”
2021

On May 6, 2021, MSS OFFICER 1 sent LI an email asking for information on
the Russian “Solar Wind” hack on U.S. companies, as well as public reports about

Chinese hackers attacking a U.S. company.

On May 10, LI responded with information concerning the Solar Wind hack
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and the U.S. government’s response to Chinese hacking of a U.S. company. That
same day, MSS OFFICER 1 responded and asked for another copy of the training
materials that LI had previously sent.

On May 14, LI sent an email to MSS OFFICER 1 discussing the training
documents. LI stated that he no longer could access the training documents.
2022

On March 10, 2022, MSS OFFICER 1 emailed LI to ask about LI’s new
employer, an international information technology company, as well as cybersecurity

training materials:

Brother Li,

[Redacted] is the U.S. company that you are at, what companies
are the customers, the roster.

Also, teaching materials from previous cybersecurity training (if
any, please support and look for it). The global strategic pattern
has changed, it will not be the same as before, using a backdoor.
Don’t do these things any more.

In this email, MSS OFFICER I was requesting information from LI’s employer’s
cybersecurity trainings, and discussing hacking tactics that could be employed.

On March 11, LI responded that he no longer had access to his old training
material. LI stated that he had found similar material and attached a cybersecurity
manual, and was hopeful that would be helpful. LI also provided a description of his
employer and its customers, stating it is the second largest IT company in India and
has 250,000 employes.

On June 14, 2022, MSS OFFICER 1| emailed LI to request help with finding

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information on someone he claimed had committed some wrongdoing and fled from
China:
There is one thing with which I hope you my big brother can
help me. [Redacted] (can search on Baidu) from Ezhou Hubei
committed some offense and fled to the United States. The
specific address is [Redacted], CA, United States. Could you help

me and find out what he has been doing recently? The whole
family is in the United States.

Open-source information further shows that the Hubei Provincial Security
Department issued a public “wanted” notice for the named individual in
approximately September 2019.

LI responded with detailed information about the owners of the property
address provided by MSS OFFICER 1, as well as a link to the county tax collector
website for the address, a link to a real estate company website with photographs and
other information about the home, and a screenshot of the tax information for the
property, which identified the owners.

Arrest and Confession

On July 20, 2024, LI was arrested for the above crimes. LI agreed to waive his
Miranda rights and speak to law enforcement. LI admitted that he knew that MSS
OFFICER 1 and others for whom he gathered information worked for the MSS.

Initially, LI made several false statements. He stated that MSS OFFICER 1
only requested information about investing in the stock market from him. LI also
denied using any fake email addresses. LI further claimed that the MSS would
provide him with names of individuals—political dissidents and Falun Gong

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practitioners in the United States—but that he did not provide information about
those individuals.

LI was confronted with copies of the emails that he exchanged with MSS
OFFICER 1. LI admitted to conducting research for the MSS and providing
information at their request. He further admitted that he had shared cybersecurity
materials internal to his employer, which he knew he was not permitted to share.

At no time was Li a diplomatic or consular officer or attaché of the PRC.
Further, at no time did LI provide notification to the United States Attorney General
as required by law that he was, in fact, acting as an agent of a foreign government,
specifically the PRC.

The above is merely a summary of some of the events, some of the persons
involved, and other information relating to this case. It does not include, nor is it
intended to include, all the events, persons involved, or other information relating to
this case.

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the

defendant or defendant’s attorney with regard to such guilty plea.

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13. Certification
The defendant and defendant’s counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant
fully understands its terms.

DATED this 4 __ day of_~24sx 2024.

ROGER B. HANDBERG

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